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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 JANIAH MONROE, MARILYN                           )
 MELENDEZ, LYDIA HELÉNA VISION,                   )
 SORA KUYKENDALL, and SASHA REED,                 )
 individually and on behalf of a class of         )
 similarly situated individuals,                  )
                                                  )
                                                      Case No. 3:18-cv-00156-NJR
                 Plaintiffs,                      )
                                                  )
         v.                                       )
                                                  )
 ROB JEFFREYS, MELVIN HINTON,                     )
 and STEVEN BOWMAN,                               )
                                                  )
                 Defendants.                      )

                    PLAINTIFFS’ PROPOSED MONITOR CANDIDATES

       On December 13, 2021, this Court gave notice of its intent to appoint a Special

Master/Monitor (“Monitor”) to:

       oversee Defendants’ compliance with the Court’s Preliminary Injunctions (Docs.
       212, 332, 336), implementation of the Illinois Department of Corrections’ April
       2021 revised Administrative Directives regarding transgender prisoners, and to
       assess and advise the Court and the parties whether further revisions of Illinois
       Department of Corrections (“IDOC”) policies and Administrative Directives are
       necessary in order to remedy the unconstitutional treatment of transgender
       prisoners in IDOC facilities.

ECF No. 370 at 1.

       The Court further provided that the parties shall submit the names of proposed candidates

for appointment as Monitor. Id. at 15. Plaintiffs now submit the names of four Monitor candidates,

listed in alphabetical order.



Dr. Soo Chun is a psychiatrist who worked for over seven years for the California Department of

Corrections and Rehabilitation at two facilities (September 2007 to December 2012, July 2016 to
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December 2018). Dr. Chun has also worked as a psychiatrist and medical director for the San

Francisco Department of Public Health, where her duties included treating patients under the

WPATH Standards of Care and conducting gender-affirming surgery evaluations, and has treated

patients at mental-health congregate-care facilities under legal conservatorships.



Dr. R. Nicholas Gorton is an emergency medicine physician in Davis, California. He has had

significant responsibility for his hospital’s quality assurance program at Sutter Davis Hospital. He

has extensive clinical experience treating and consulting regarding the adequacy of treatment of

transgender patients for gender dysphoria, including patients who are in various forms of state

custody. He has also conducted trainings and helped develop policies for other providers

concerning transgender healthcare through his work for Project HEALTH. In addition to his

medical and clinical experience treating patients with gender dysphoria, Dr. Gorton has conducted

extensive review of transgender prisoners’ medical records in his capacity as an expert consultant.



julie graham, M.S. is a psychotherapist, consultant, and trainer who has many years of experience

in providing and overseeing the delivery of transgender health care. Their correctional work has

included training correctional facility medical providers in San Francisco, Oregon, and

Washington. For the last year and a half, they have served as a consultant to both the Washington

Department of Corrections and Disability Rights Washington in a structured negotiation that aims

to improve the care and treatment of transgender prisoners statewide. In that role, they have been

responsible for assessing numerous formal correctional policies and unwritten practices regarding

the delivery of transgender medical and mental healthcare, including those related to housing and




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access to commissary items. The goal of the work has been to assist the parties’ efforts to reach an

agreement regarding a new model for delivering necessary medical care.



Dr. Amanda L. Harris is a family medical physician who worked from October 2015 to February

2020 as a physician, site medical director, and assistant chief of medicine in NYC Health and

Hospitals’ Correctional Health Services program, which runs healthcare in the New York City jail

system. In that role, her duties included providing front-line transgender healthcare to individuals

with gender dysphoria and implementing PREA compliance and trainings. As Assistant Chief of

Medicine, Dr. Harris drafted a new system-wide policy on transgender healthcare affecting New

York City’s transgender detainees and trained providers within that jail system to deliver gender-

affirming care, including hormone therapy.




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Dated: January 7, 2022        Respectfully submitted by:

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                                CERTIFICATE OF SERVICE

       I certify that on January 7, 2022, I electronically filed the foregoing document and any

exhibits with the Clerk of this Court by using the CM/ECF system, which will accomplish

service through the Notice of Electronic Filing for parties and attorneys who are Filing Users.

                                         By: /s/ Abby L. Parsons




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